Case 1:06-cv-00627-JTN         ECF No. 198, PageID.2469            Filed 06/22/09       Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


VIRGINIA HAUF and STEPHEN BARROW,

               Plaintiffs,                                    Case No. 1:06-cv-627

v.                                                            HON. JANET T. NEFF

LIFE EXTENSION FOUNDATION and
WILLIAM FALOON,

            Defendants.
____________________________________/


                                             OPINION

       Pending before the Court are the parties’ competing motions for summary judgment pursuant

to FED. R. CIV. P. 56. Having reviewed the written submissions and accompanying exhibits, the

Court finds that the relevant facts and arguments are adequately presented in these materials and that

oral argument would not aid the decisional process. See W.D. Mich. LCivR 7.2(d). For the reasons

that follow, the Court grants Defendants’ Motion for Summary Judgment on All Remaining Counts

in Plaintiffs’ Second Amended Complaint (Dkt 163). Consequently, the Court denies Plaintiffs’

Motion for Partial Summary Judgment Pursuant to FED. R. CIV. P. 56 Against Defendant Life

Extension Foundation (LEF) (Dkt 156) and denies Defendant William Faloon’s Motion for

Summary Judgment Based on Lack of Any Personal Involvement (Dkt 159).

                                                  I

                                      A. Factual Background

       Plaintiff Virginia Hauf (formerly known as Virginia Gorka) and plaintiff Stephen Barrow

are mother and son. In 1993, Hauf contacted LEF to purchase shark cartilage supplements for
Case 1:06-cv-00627-JTN         ECF No. 198, PageID.2470             Filed 06/22/09      Page 2 of 10




Barrow, who was suffering from brain cancer (Statement of Material Facts [SMF] ¶ 10). In 2001,

following prior publications of their testimonial about Barrow’s recovery in LEF’s magazine, Hauf

contacted the co-founder of LEF, asking that he contact her (Df. Exh. 7; SMF ¶ 17). Specifically,

she wrote: “I would like to get with you [sic] on the life extension foundation. I feel your products

are wonderful. If you could please give me a call … I would like to work out something with you

in regards to recommending your products” (id.).

       Plaintiff Hauf does not dispute that she thereafter updated her testimonial and signed the

following release:

           STANDARD RELEASE OF TESTIMONIALS & PHOTOS

       I, __________________, do hereby give LIFE EXTENSION FOUNDATION AND
       ALL ITS BUSINESS AFFILIATES, its assigns, licensees, and legal representatives
       the irrevocable right to use my name (or any fictional name), picture, portrait, digital
       image, or photograph in all forms and media and in all manners, including composite
       or distorted representations, for advertising, trade or any other legal purposes, and
       I waive any right to inspect or approve the finished product, including written copy,
       that may be created in connection therewith.

       I am over eighteen (18) years of age and have read the above authorization and
       release prior to its execution.

         7/9/01                                  /s/ Virginia A. Gorka
       Date                                    Name

[Df. Exh. 8; SMF ¶¶ 19-21]


       At Hauf’s request, LEF ceased publication of her testimonial in 2005 (SMF ¶ 38).

                                      B. Procedural Posture

       On September 1, 2006, plaintiffs filed the instant action, alleging seven counts arising from

the publication of the testimonial about Barrow’s cancer recovery story in the membership drive

campaign materials LEF disseminated in 2005. Plaintiffs amended their complaint two times, and

                                                  2
Case 1:06-cv-00627-JTN           ECF No. 198, PageID.2471             Filed 06/22/09       Page 3 of 10




defendants moved for dismissal of certain counts. This Court denied defendants’ motions to dismiss

on March 4, 2008 (Dkts 37-38).

        At this juncture, four counts remain of plaintiffs’ Second Amended Complaint: a Lanham

Act claim brought on behalf of both plaintiffs alleging that defendants engaged in false

endorsement/association under 15 U.S.C. § 1125(a)(1)(A) (Count I); a Lanham Act claim brought

on behalf of only plaintiff Hauf alleging that defendants engaged in false advertising/association

under 15 U.S.C. § 1125(a)(1)(B) (Count II); a common law right-to-privacy claim alleging that

defendants misappropriated plaintiffs’ names and likenesses for commercial benefit (Count III); and

a claim against LEF alleging that its aforementioned conduct violates the Michigan Consumer

Protection Act, MICH. COMP. LAWS § 445.903(1) (Count VIII).

        In their collective motion for summary judgment, defendants first argue that all four of

plaintiffs’ remaining claims should be summarily decided in their favor in light of plaintiff Hauf’s

2001 release.1 Defendants also proffer alternative arguments for summary judgment in their favor

on each of the four counts. In the event this Court determines that LEF did not have plaintiffs’

permission to publish the testimonial, defendant Faloon has also filed a separate motion for summary

judgment in which he argues that he had no personal involvement in the publications and cannot be

held personally liable. Plaintiffs have filed a separate motion for summary judgment, arguing they

are entitled to judgment as a matter of law on their counts against LEF.




        1
          In their affirmative defenses to plaintiffs’ Second Amended Complaint, defendants asserted
that “plaintiffs’ claims are barred, in whole or in part, because plaintiffs consented to the use of their
story by defendants and released any and all claims and damages that might be asserted before or
after the execution of the release.” 2/13/2008 Aff. Def. 15 (Dkt 35).

                                                    3
Case 1:06-cv-00627-JTN         ECF No. 198, PageID.2472            Filed 06/22/09       Page 4 of 10




                                                  II

                                        A. Motion Standard

       A moving party is entitled to a grant of its motion for summary judgment “if the pleadings,

the discovery and disclosure materials on file, and any affidavits show that there is no genuine issue

as to any material fact and that the movant is entitled to judgment as a matter of law.” FED. R. CIV.

P. 56(c); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). The court must

consider the evidence and all reasonable inferences in favor of the nonmoving party. Slusher v.

Carson, 540 F.3d 449, 453 (6th Cir. 2008); Hamilton v. Starcom Mediavest Group, Inc., 522 F.3d

623, 627 (6th Cir. 2008).

       The party moving for summary judgment has the initial burden of showing that no genuine

issue of material fact exists. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Slusher, 540 F.3d

at 453. “Once the moving party supports its motion for summary judgment, the opposing party must

go beyond the contents of its pleadings to set forth specific facts that indicate the existence of an

issue to be litigated.” Slusher, 540 F.3d at 453 (citing FED. R. CIV. P. 56(e)). The ultimate inquiry

is “whether the state of the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Id.

                                           B. Discussion

       As the legal effect of plaintiff Hauf’s 2001 release may be outcome determinative, this Court

first turns to examination and consideration of this issue, which is the first issue presented in

Defendants’ Motion for Summary Judgment on All Remaining Counts in Plaintiffs’ Second

Amended Complaint. Mot. 9-11. Defendants argue that the release bars all four claims remaining

in this case, not only Hauf’s claims but also Barrow’s because Barrow admitted that his mother had


                                                  4
Case 1:06-cv-00627-JTN          ECF No. 198, PageID.2473            Filed 06/22/09       Page 5 of 10




his permission to use his name.2 Mot. 11 n. 6. Plaintiffs do not contradict that Hauf had Barrow’s

permission, arguing instead that the document Hauf signed is, at best, “an authorization.” Resp. 6,

8. According to plaintiffs, defendants have distorted the facts and the law surrounding the release

issue.

         Under well-established Michigan law,3 courts construe releases consistent with general state

law contract principles, with the intent of the parties controlling the scope of the release. Barden

Detroit Casino, L.L.C. v. City of Detroit, 59 F. Supp. 2d 641, 659 (E.D.Mich. 1999) (citing Taggart

v. United States, 880 F.2d 867, 870 (6th Cir. 1989) (interpreting Michigan contract law);

Wyrembelski v. City of St. Clair Shores, 553 N.W.2d 651, 652 (Mich. Ct. App. 1996); Gortney v.

Norfolk & Western Ry. Co., 549 N.W.2d 612, 614 (Mich. Ct. App. 1996)), aff’d 230 F.3d 848 (6th

Cir. 2000).

         In determining the intent of the parties, the Court must look to the language of the release

itself. Taggart, 880 F.2d at 869. “If the language is unambiguous, the meaning of the language is

a question of law, and the intent of the parties must be discerned from the words used in the

instrument. However, if the scope of a release agreement is ambiguous, the question thus becomes

one of determining the intention of the parties.” Id. at 870 (internal citations omitted).



         2
          Barrow testified, “[M]y mom has permission to use the stories that she, you know, the
'94-'95 publications that went out, even in the 2001 publications that went out” (Barrow Dep [Df.
Ex. 14] 115:8-24).
         3
         The parties did not address (and their choice of legal authorities does not indicate) whether
federal or state law should be used to guide the contract interpretation in this case, which plaintiffs
brought under both diversity and federal question jurisdiction. This Court has determined to apply
Michigan law in ascertaining whether a contract exists. See Cleveland-Cliffs Iron Co. v. Chicago
& North Western Transp. Co., 581 F.Supp. 1144, 1149-50 (W.D. Mich. 1984).


                                                  5
Case 1:06-cv-00627-JTN         ECF No. 198, PageID.2474            Filed 06/22/09       Page 6 of 10




       The language of the “Standard Release of Testimonials & Photos” in this case is clear and

unambiguous. In signing the document, Hauf provided a right to not only LEF but also LEF’s

business affiliates, assigns, licensees, and legal representatives, language that would encompass

LEF co-founder and director Faloon. Hauf granted this group an “irrevocable right” to use her name

or any fictional name, picture, portrait, digital image, or photograph “in all forms” and media and

“in all manners,” including composite or distorted representations for advertising, trade or any other

legal purposes. “[T]here is no broader classification than the word ‘all.’” Skotak v. Vic Tanny Int’l,

Inc., 513 N.W.2d 428, 430 (Mich. Ct. App. 1994). “In its ordinary and natural meaning, the word

‘all’ leaves no room for exceptions.” Id. Indeed, Hauf waived “any right to inspect or approve the

finished product, including written copy.”

       Plaintiffs nonetheless assert that the language in the “Standard Release of Testimonials &

Photos” is ambiguous. According to plaintiffs, Hauf only intended for the testimonial to be placed

once in LEF’s magazine, as had occurred with the prior publications, and that she did not ever intend

for the testimonial about her son’s recovery to be used for monetary gain. Resp. 6, 10. Plaintiffs

emphasize that because no other LEF representative disputes Hauf’s version of events as to the

circumstances surrounding her updated testimonial and “release,” her testimony is undisputed.

Plaintiffs also point out that her version of events is supported by contemporaneous facsimile

transmissions in the record as well as the testimony from LEF’s marketing directors that their

practice was to have any changes to a testimonial reviewed by the person giving the testimony

(Searles Dep [Pl. Exh. B] 96-97; Stahl Dep [Pl. Exh. G] 26). Resp. 10.

       Defendants point out that the release does not contain an explicit merger or integration

clause. Mot. 10. Defendants assert that because Hauf admitted that she read the release before


                                                  6
Case 1:06-cv-00627-JTN          ECF No. 198, PageID.2475            Filed 06/22/09       Page 7 of 10




signing it and that she voluntarily signed it, there is no reason to look beyond the language of the

release. Id., 10-11.

       Drawing all reasonable inferences in plaintiffs’ favor, see Slusher, supra, the Court agrees

with defendants that the considerations plaintiffs present do not render ambiguous the language in

the release. “The fact that the parties dispute the meaning of a release does not, in itself, establish

an ambiguity. A contract is ambiguous only if its language is reasonably susceptible to more than

one interpretation. If the terms of the release are unambiguous, contradictory inferences become

subjective and irrelevant, and the legal effect of the language is a question of law.” Gortney, 549

N.W.2d at 614-15 (internal citations and quotations omitted).

       Plaintiffs also argue that the release does not grant defendants any right to use the

testimonial. According to plaintiffs, the document merely provides LEF with “the opportunity to

use names, photographs and other images in its publications without prior approval from plaintiffs.”

Resp. 10-11. Plaintiffs’ argument is belied by the bold-font, capitalized title of the document:

“STANDARD RELEASE OF TESTIMONIALS & PHOTOS.” Plaintiffs’ argument is also

belied by the language of the release, which references not only the “use” of the signatory’s name

but also “written copy” created in connection with the use of the name and picture. “The law

presumes that the parties understood the import of their contract and that they had the intention

which its terms manifest.” Michigan Chandelier Co. v. Morse, 297 N.W. 64, 67 (Mich. 1941)

(quoted with approval in Taggart, 880 F.2d at 870). “This court does not have the right to make a

different contract for the parties ... when the words used by them are clear and unambiguous.” Id.

       Last, plaintiffs unconvincingly argue that the release is not necessarily a release of legal

claims because no legal claims are specified in the document. Resp. 8, 10. Their argument misses


                                                  7
Case 1:06-cv-00627-JTN          ECF No. 198, PageID.2476             Filed 06/22/09      Page 8 of 10




the import of the release Hauf signed. Although the release does not specify any legal claims, the

language of the release is unambiguous and broad enough to bar the remaining claims plaintiffs have

in this suit.

         Specifically, in light of the release, defendants cannot be held liable to plaintiffs on Count

I under the Lanham Act for purported false endorsement/association. “False endorsement occurs

when a celebrity’s identity is connected with a product or service in such a way that consumers are

likely to be misled about the celebrity’s sponsorship or approval of the product or service.” ETW

Corp. v. Jireh Pub., Inc., 332 F.3d 915, 925-26 (6th Cir. 2003). Plaintiffs were not falsely associated

with LEF; rather, plaintiff Hauf expressly authorized defendants’ use of the testimonial. Similarly,

defendants cannot be held liable to plaintiff Hauf on Count II under the Lanham Act for purported

false advertising/association where Hauf gave LEF the right to use her name and picture “for

advertising” and waived “any right to inspect or approve the finished product, including written

copy.”

         The release also operates to negate plaintiffs’ misappropriation claim in Count III. To

prevail on this claim, plaintiffs must prove (1) a pecuniary interest in their identities, and (2) that

their identities have been commercially exploited by defendants. See Parks v. LaFace Records, 329

F.3d 437, 460 (6th Cir. 2003); Landham v. Lewis Galoob Toys, Inc., 227 F.3d 619, 624 (6th Cir.

2000). A reasonable jury could not find that LEF commercially exploited plaintiffs’ identities where

plaintiff Hauf expressly consented to LEF’s use of the testimonial and likeness.

         Last, the release operates to negate plaintiffs’ state law claim in Count VIII against LEF.

According to plaintiffs, LEF’s publication of the testimonial violated the MCPA inasmuch as the

testimonial caused confusion about the sponsorship or approval of LEF goods, membership and


                                                   8
Case 1:06-cv-00627-JTN         ECF No. 198, PageID.2477           Filed 06/22/09    Page 9 of 10




services and misrepresented the benefits of LEF goods, membership and services. However, where

LEF was proceeding with Hauf’s permission, even her permission to issue a version of the

testimonial she did not inspect or approve, a reasonable jury could not find that LEF’s conduct

violated the MPCA.

       In summary, in considering this threshold issue, this Court agrees with defendants that the

lawsuit is ripe for summary judgment in their favor. The state of the evidence is such that a

reasonable jury could not return a verdict for plaintiffs.

                                                 III

       Defendants are granted summary judgment of all counts remaining in this case.

Consequently, plaintiffs’ motion for summary judgment of their claims against LEF and defendant

Faloon’s individual motion for summary judgment are both denied.

       A Judgment will be entered consistent with this Opinion.




DATED: June 22, 2009                               /s/ Janet T. Neff
                                                  JANET T. NEFF
                                                  United States District Judge




                                                  9
Case 1:06-cv-00627-JTN        ECF No. 198, PageID.2478          Filed 06/22/09     Page 10 of 10




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 VIRGINIA HAUF and STEPHEN BARROW,

               Plaintiffs,                                  Case No. 1:06-cv-627

 v.                                                         HON. JANET T. NEFF

 LIFE EXTENSION FOUNDATION and
 WILLIAM FALOON,

             Defendants.
 ____________________________________/



                                         JUDGMENT

        In accordance with the Opinion entered this date:

        IT IS HEREBY ORDERED that Defendants’ Motion for Summary Judgment on All

 Remaining Counts in Plaintiffs’ Second Amended Complaint (Dkt 163) is GRANTED.

        IT IS FURTHER ORDERED that Defendant William Faloon’s Motion for Summary

 Judgment Based on Lack of Any Personal Involvement (Dkt 159) is DENIED.

        IT IS FURTHER ORDERED that Plaintiffs’ Motion for Partial Summary Judgment

 Pursuant to FED. R. CIV. P. 56 Against Defendant Life Extension Foundation (Dkt 156) is DENIED.




 DATED: June 22, 2009                            /s/ Janet T. Neff
                                                JANET T. NEFF
                                                United States District Judge



                                               10
